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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

    NUVASIVE, INC.,                        )
                                           )
                Plaintiff,                 )
                                           )
    v.                                     )              Civil Case No. 6:17-cv-2206-Orl-41GJK
                                           )
    ABSOLUTE MEDICAL, LLC, ABSOLUTE )
    MEDICAL SYSTEMS, LLC, GREG             )
    SOUFLERIS, DAVE HAWLEY, and            )
    RYAN MILLER,                           )
                                           )
                Defendants.                )
    _______________________________________)

                         MOTION FOR DISCOVERY CONFERENCE

           Pursuant to Local Rule 3.01(j), NuVasive, Inc. (“NuVasive”) respectfully requests

    that the Court set a discovery conference to address the progress of discovery in this matter,

    various issues that have arisen during discovery, and several outstanding discovery motions

    filed by NuVasive which are presently pending before the Court. (See Docs. 117, 118). In

    support of this motion, NuVasive states as follows:

           1.      The discovery deadline in this case is July 15, 2019. (Doc. 46).

           2.      NuVasive has been diligently attempting to conduct discovery in this matter

    since the parties’ Federal Rule of Civil Procedure 26(f) conference held on February 19,

    2018 (see Doc. 37 at ¶ I), including sending written discovery requests to each of the five

    defendants and serving several subpoenas to various third parties requesting documents.

    NuVasive has also begun taking depositions.
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           3.      On October 8, 2018, NuVasive filed motions to compel complete responses to

    its written discovery requests served on Absolute Medical, LLC (“Absolute Medical”) and

    Dave Hawley. (Docs. 117, 118). Despite several attempts to receive full and adequate

    responses to its written discovery requests, these two defendants continue to provide answers

    that are either incomplete or to assert objections that are overstated and inapplicable.

           4.      Defendants are also currently in the process of attempting to confer with

    counsel for Defendants regarding Absolute Medical Systems, LLC’s (“AMS”), Greg

    Soufleris’s, and Ryan Miller’s responses to NuVasive’s written discovery requests, which,

    similar to the responses of Absolute Medical and Hawley, are deficient and require

    supplementation. NuVasive sent good-faith letters to counsel for Defendants on September

    19 and October 9, 2018, but despite following up with counsel for Defendants multiple times,

    NuVasive has not yet received a response. (Exhibit 1, September 9, 2018 Letter; Exhibit 2,

    October 9, 2018 Letter). Therefore, NuVasive anticipates that motions to compel will also

    need to be filed with respect to these three defendants’ discovery responses in the near future.

           5.      Defendants have also attempted to thwart almost every third-party subpoena

    served by NuVasive (Docs. 92, 97, 124, 134, 136), including filing motions to quash in

    district courts in Tennessee and Texas. See NuVasive, Inc. v. Absolute Medical, LLC, et al.,

    Case No. 18-mc-00008 (M.D. Tenn.); NuVasive, Inc. v. Absolute Medical, LLC, et al., Case

    No. 18-mc-00009 (M.D. Tenn.); NuVasive, Inc. v. Absolute Medical, LLC, et al., Action No.

    3:18-MC-097-K(BH), (N.D. Tex.). For instance, on December 18, 2018, Defendants moved

    in the United States District Court for the Northern District of Texas to quash a subpoena

    NuVasive served on Orthofix, Inc., arguing that the subpoena was overly broad. Action No.




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    3-18-MC-097-K(BH). But that subpoena contained temporal and subject matter limitations

    previously deemed reasonable by this Court. (See Doc. 125). Defendants subsequently

    agreed to withdraw their motion to quash.

           6.      NuVasive has been unable to schedule the depositions of the Defendants in

    this action because Defendants have been uncooperative during discovery and have not

    produced information and documents relevant to NuVasive’s claims and Defendants’

    defenses and necessary for NuVasive to adequately prepare for deposing Defendants. These

    depositions are vital to NuVasive’s claims and NuVasive should be permitted to go into these

    depositions with a full picture of the relevant facts.

           7.      Because Defendants are simply trying to thwart NuVasive’s proper attempts

    to discover information and documents in this case that are relevant and proportional and

    given the numerous discovery disputes that have arisen thus far in this action, a discovery

    conference before the Court would assist the parties in moving forward with discovery in a

    timely and efficient manner. It would also be an effective and efficient use of judicial

    resources in that it will assist the parties in resolving their disputes and moving discovery

    forward in a manner that will require less intervention by the Court.

           WHEREFORE, NuVasive respectfully requests the Court set an in-person hearing for

    1.5 hours to address the progress of discovery in this action, various discovery issues, and the

    outstanding discovery motions filed by NuVasive.




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                                  Local Rule 3.01(g) Certification

           Counsel for NuVasive conferred with counsel for Defendants regarding the relief

    requested in this motion, and counsel for Defendants have advised that Defendants are

    opposed to the requested relief.

    Dated: January 29, 2019

                                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

            I hereby certify that on January 29, 2019, a copy of the foregoing was filed
    electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
    system to all parties indicated on the electronic filing receipt. All other parties will be served
    by regular U.S. Mail. Parties may access this filing through the Court’s electronic filing
    system. The party or parties served are as follows:

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